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To the Honorable David J. Hale,

My name is Erica Schmidt, and I am the youngest daughter of John Schmidt. I am writing to you
today to ask for leniency for my father.

My dad was a very involved father as I was growing up. I had a very ideal childhood. While
working full time he was involved in every part of our lives. From swim meets to school plays,
he was there every step up the way.

My parents brought my sister and I up in the Catholic faith, which my father is strongly
connected to. He was highly involved in the church, attending mass weekly and serving on the
board for several years. My moral education was guided by the tenants my father gained from his
faith.

My father and I share several things in common; a love of puzzles, a tendency to always be early,
and a predisposition to clinical depression.

My first struggle with depression came my junior year of college. Even in the early 2010’s, there
was still a lot of shame and stigma involved with being diagnosed with a mental illness. The first
person to ease that shame was my father. He reassured me that what I was going through was an
illness, just like any other, and that he would do everything he could to help me heal. While I did
recover from that first bout of depression, it’s been something I’ve struggled on and off with for
years, every time supported by my dad.

Even in my darkest days I was soothed by the knowledge that I wasn’t alone, and I never
doubted for a second that he would be there to help me. When I reflect on the last few years, the
knowledge that my dad didn’t have the same kind of support is what saddens me the most.

He suffered for a long time in silence, because he was used to being the person other’s leaned on.
I believe that as his mental illness grew worse my father made choices that were outside his
usual character, and eventually suffered from a mental health break in 2019.

Though the aftermath of this experience was probably the hardest thing he or our family has ever
gone through. My father came out of it in a much healthier place. He worked closely with his
doctors and therapist to ensure his own safety, and has shown enormous remorse for his choices.

He also took on his proudest title yet: grandpa (or more accurately PawPaw according to my
nephew Cole).
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The birth of my two nephews, Cole (born May 2020) and Theo (born July 2022), truly changed
his life. He cherishes being their PawPaw, and has been one of their primary caregivers their
entire lives. My dad stayed home with both boys until they were around 1, and then became their
main caregiver in the summers when they were out of school. I work at the preschool my
nephews attend, and all of my coworkers marvel at what an involved grandparent he is.

I ask you for leniency for my father’s sake, but also for theirs. Those little boys love him so
much. It breaks my heart to think of how hard an extended separation will be on them.

I believe my father is a good man. He made many mistakes, which I know he feels extreme
contrition for. While I was not able to help him before these incidents occurred, I hope my words

will be able to now.

Thank you for taking the time to read this letter. I hope you take it into consideration at the time
of sentencing.

Sincerely,

Erica Schmidt
